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   8                        UNITED STATES DISTRICT COURT

   9         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

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  11   JASON KIM,                               Case No.: 8:23-cv-01579-DOC-ADS
  12                                            Action Filed: August 23, 2023
                          Plaintiff,
  13   vs.                                      Trial Date: April 15, 2024
  14   THE GUARDIAN LIFE
       INSURANCE COMPANY OF                     JUDGMENT
  15   AMERICA; and DOES 1 through 10,
       inclusive,
  16
  17                      Defendants.

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  20         On May 9, 2024, the Court issued its Findings of Facts and Conclusions of
  21   Law (ECF 38) in favor of Plaintiff Jason Kim (“Kim”) and against Defendant The
  22   Guardian Life Insurance Company of America (“Guardian”).
  23         For all of the reasons stated in the Court’s May 9, 2024 Findings of Fact and
  24   Conclusions of Law, judgment is hereby entered in favor of Kim and
  25   against Guardian in the amount of $37,087, plus prejudgment interest at the rate of
  26   5.26%.1
  27   1
        In the Court’s May 9, 2024 Findings of Fact and Conclusions of Law, at paragraph
  28   38, the Court awarded Kim long-term disability benefits for the period of March 25,
                                                                     Footnote continues on next page…



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   2         The Court’s May 9, 2024 Findings of Facts and Conclusions of Law (ECF
   3   38) is not a judgment and its notation in the civil docket did not constitute entry of
   4   judgment. Kim shall file any motion to recover his attorneys’ fees and costs in this
   5   action within thirty (30) days of the entry of this Judgment.
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             APPROVED AND SO ORDERED.
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  11    Dated: -XQH, 2024
                                                   HON. DAVID O. CARTER
  12                                               UNITED STATES DISTRICT COURT JUDGE
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  27   2021 through March 2022. ECF 38 at p. 19. However, because the parties agree
       that Guardian paid Kim short-term disability benefits for the period of March 22,
  28   2021 to June 23, 2021, the Court hereby corrects the period of long-term disability
       benefits awarded by the Court to June 23, 2021 to March 23, 2022.

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